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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                  CRIMINAL ACTION NO. 3:11-00203-03

CECIL RICE
     also known as AJ@
     also known as AMurder@


                         MEMORANDUM OPINION AND ORDER

       Today the Court heard evidence and oral argument concerning the Government’s Motion

for Revocation of Order Releasing Defendant on Bond (ECF No. 190). As discussed on the

record, the Court finds there is a reasonable likelihood that Defendant would appear for future

court appearances based on the conditions of bond imposed. However, the Court disagrees with

the Magistrate’s finding as to the risk of danger to the community. The Court finds that

Defendant does pose a risk of danger to the community, that is, to both the Huntington area and

the Detroit area where he would reside pending trial.

       The Court makes this decision relying on the evidence presented by the Government.

Defendant came to Huntington to engage in the distribution of narcotics. He was caught with

heroin on his person when arrested. While in Huntington, Defendant stayed in a hotel room that

was booked under his girlfriend’s name. A search of the hotel room revealed drugs, money, and

scales. Defendant has shown a willingness to deal drugs and to use others to help him

accomplish this objective. He was engaged in this conduct up until the day of his arrest. Based

on this evidence the Court FINDS that Defendant poses a danger to the community, GRANTS
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the Government’s motion (ECF No. 190), REVOKES the Magistrates’s order releasing

Defendant on bond (ECF No. 189), and ORDERS Defendant detained pending trial.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to

counsel and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S.

Marshals Service.


                                           ENTER:        October 1, 2013




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